Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 1 of 69

EXHIBIT D

Declaration of Duncan A. Buell

January 11, 2022
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 2 of 69

IN THE UNITED STATES DISTRICT COURT FOR
THE NORTHERN DISTRICT OF GEORGIA

 

ATLANTA DIVISION
DONNA CURLING, et al.
Plaintiff,
CIVIL ACTION FILE NO.:
VS. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.
Defendant.

 

DECLARATION OF DUNCAN A. BUELL

DUNCAN A. BUELL (“Declarant”) hereby declares as follows:

1. Iam aretired professor of Computer Science and Engineering at the
University of South Carolina. I submit this declaration in support of the above captioned
litigation to prohibit further use of Georgia’s current Dominion BMD voting system..

2. Based on my research on the data provided by the state and by counties in
Georgia from the November 2020 General Election and the January 2021 runoff election,
it is my opinion that additional basic, and more complete, data must be provided in order
to provide Coalition Plaintiffs’ voting system experts with adequate information to reach
conclusions on the root causes of the systemic discrepancies I have observed to date. The
number of anomalies and discrepancies between the various sets of data provided are too
great to assume they are simply the occasional errors made in an enterprise as large as a

quadrennial election in Georgia. Further, for an appropriate and definitive examination,
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 3 of 69

access to target samples of paper ballots and their scanning records must be granted;
given the anomalies and discrepancies detected in the November 3, 2020 election, it is
impossible to determine which electronic version of the data should be considered to be
operative. Based on what is known today from the incomplete election records provided
by Defendants and Georgia counties, is very likely that examination of the paper records
will lead experts to the conclusion that access to the key components of hardware and
software used in the November 2020 election will be necessary to determine whether the
significant discrepancies identified are caused by exploitation of the system’s security
vulnerabilities or human error or insider malfeasance. My background and opinions are
set forth below.

Qualifications and Relevant Employment History

3. In 1971, I earned a B.S. in Mathematics from the University of Arizona. The
following year, I earned an M.A. in Mathematics from the University of Michigan. In
1976, I earned a doctorate in Mathematics, with an emphasis in number theory, from the
University of Illinois at Chicago. A copy of my resume is available on my university
website at http://www.cse.sc.edu/~buell.

4, Prior to moving into my position at the University of South Carolina, I was
employed for approximately 15 years (with various job titles and duties) at the
Supercomputing Research Center (later named the Center for Computing Sciences) of the
Institute for Defense Analyses, a Federally Funded Research and Development Center
(FFRDC) supporting the National Security Agency. Our mission at SRC/CCS was

primarily to conduct research on high performance computing systems and computational
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 4 of 69

mathematics to ensure that those computing systems would be suitable for use by NSA,
since the NSA workload has technical characteristics different from most high-end
computations like weather modeling. While at IDA, I played a leading role in a group
that received a Meritorious Unit Citation from Director of Central Intelligence George
Tenet for what was then “the largest single computation ever made” in the U.S.
intelligence community.

5. From 2000 until my retirement on 1 January 2021, I was a Professor in the
Department of Computer Science and Engineering at the University of South Carolina.
From 2000 to 2009, I served as Chair of that department. During 2005-2006, I served as
Interim Dean of the College of Engineering and Information Technology at the
University of South Carolina. In my management capacity as department chair, my
duties also included the management of the college’s information technology staff and its
network and computer center, which included 9 instructional labs with approximately 250
desktop computers. I was also responsible for the management and operation of cluster
computers, file and mail servers, and the college’s network infrastructure.

6. In 2013, I was elected a Fellow of the American Association for the
Advancement of Science. In 2016, I was appointed to an endowed professorship, the
NCR Chair in Computer Science and Engineering at the University of South Carolina.

7. My current research interests include electronic voting systems, digital
humanities, high performance computing applications, parallel algorithms and

architecture, computer security, computational number theory, and information retrieval.
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 5 of 69

Over the past 40 years, I have published articles in peer-reviewed journals and/or lectured
on each of these topics.

8. Beginning about 2004 I worked with the League of Women Voters of South
Carolina (LWVSC) as an unpaid consultant on the issue of electronic voting machines.
South Carolina uses statewide the ES&S iVotronic Direct Recording Electronic (DRE)
terminals and the corresponding Unity software. Beginning in summer 2010, I worked
with citizen volunteer activists Frank Heindel, Chip Moore, Eleanor Hare, and Barbara
Zia on acquisition by FOIA of the election data from the November 2010 general
elections in South Carolina and on the analysis of that data. That work, based on data we
acquired by FOIA, culminated in an academic paper that was presented at the annual
USENIX EVT/WOTE (Electronic Voting Technology Workshop/Workshop on
Trustworthy Elections) conference in August 2011. My work with the LWVSC
continued. When the state of South Carolina acquired the 2010 election data from the
counties and posted it on the SCSEC website, I analyzed that data as well. I have
obtained and analyzed the data from the 2012, 2014, 2016, and 2018 elections in South
Carolina, and I have also analyzed ES&S DRE-voting system data in more limited
quantities from Colorado, Kansas, North Carolina, Pennsylvania, and Texas.

9. Ihave also analyzed, in limited quantity, data from the June 2020 statewide
primary from the ES&S ExpressVote-based voting system purchased in 2019 by South
Carolina to replace the iVotronic-based system. The ExpressVote is a Ballot Marking
Device, usually referred to as a BMD. The ExpressVote can be viewed as the ES&S

competition to the voting system marketed by Dominion and purchased by Georgia.
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 6 of 69

10. In March 2019 I was nominated by the county legislative delegation and the
appointed by Governor Henry McMaster to the Board of Voter Registration and Elections
of Richland County, South Carolina. I held this position until March 2021, when I
resigned because I was moving in April 2021 from South Carolina to Ohio. I have also
been asked to serve, and agreed to serve, as the technical lead on a third-party source
code review of the ES&S voting system software, including the Express Vote Ballot
Marking Device components, as used in North Carolina. In that state, the law requires an
escrow of code and a review of that code which do not seem to have taken place, and one
of the recognized political parties has, as permitted by North Carolina law, sought such a
third-party review.

Basis for My Opinions

11. I base the opinions in this declaration on my knowledge, skill, training,
education, research, and experience: I have been programming computers for more than
50 years and was employed as a computer scientist for more than 40 years, working with
computers and computer applications and operations and management of large computer
networks, including file and mail servers that utilize the Internet.

12. I have conducted research on polling place operations in South Carolina,
which has included assessing wait times and voting times at the DREs and BMDs, and I
have been a poll observer and thus watched voter behavior as they voted on DREs and
BMDs and the behavior of poll workers.

13. I also base my opinions primarily on an extensive analysis of the JSON

(Javascript Object Notation) cast vote record files produced in Georgia in November
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 7 of 69

2020 and January 2021 and provided to me by the plaintiffs in this case, which I
understand they obtained from State Defendants. Although it is somewhat tedious due to
the quantity of data, I have focused primarily on Fulton County. All my work in this

assignment has been based on examination of electronic files, not of the physical paper.

The Data As Provided Is Inadequate and Cannot Be Viewed As Authoritative

14, Although I have done an extensive analysis of the data from November 2020,
and I can (and will below) draw conclusions from my analysis, I cannot with confidence
say that the data provided should be treated as authoritative and I cannot say that the
entire story of those Fulton County elections is presented in that data. Since there is a
single voting system used statewide in Georgia, and since management and configuration
of the election is the responsibility of the Secretary of State, it is very disconcerting that
the data comes piecemeal, with different structures and file names, and that valuable data
provided by some counties is missing from others. This is, for example, in very sharp
contrast with the ballot level electronic data, including cast vote records, I used from
South Carolina, that was provided by the state as public record. The South Carolina data
was consistent, nearly complete and consistently presented, with only a few anomalies (in
each biennial, if memory serves, there might be a different county whose data was
corrupted and unusable and a handful of devices that had failed). This allowed for a
reliable analysis and a comparison across counties, voting methods, and such. In
contrast, the significantly incomplete Georgia data as presented to me can only be

described as a “mess”.
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 8 of 69

15. Not only is the Fulton County data significantly incomplete, but the electronic
data files of the Election Project Packages obtained by order of this Court on December
3, 2021, were not provided in their original unmodified form in a zipped file as officials
were required to produce at the close of the election. I obtained the electronic files from
Coalition Plaintiffs, who represented to me that they forwarded the files to me in the
same condition as they were received from Fulton County and State Defendants. I have
reviewed correspondence from Coalition Plaintiffs’ attorneys to attorneys for the State
Defendants and Fulton Defendants detailing the missing records and unzipped modified
condition of the records, which informs my concern about the ability to reasonably rely
on the electronic records provided to me.

16. Coalition Plaintiff's attorneys’ correspondence indicates the estimated
number of electronic records missing. In Fulton County ballot images and their attached
“AuditMark” tabulation interpretations are missing for approximately 360,000 BMD
ballots and 6.4 million BMD votes they contain for in-person voting for the official
certified count of all down ballot races. Approximately 17,800 images and the same
number of .sha files are missing from the presidential recount. Approximately 11,000
.dvd files are missing from the presidential recount for Fulton’s November 2020 election.
Such electronic files are essential when testing the election records for consistency and
accuracy. Significant numbers of missing files inhibits a complete authoritative analysis
of causes or effects of potential impacts of malware, software bugs, equipment

malfunction, human error or malfeasance by insiders.
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 9 of 69

17. The inability of the state and counties to provide complete, authoritative, and
consistent data from the Dominion BMD system, coupled with the highly vulnerable
nature of the BMD touchscreen machines, does, in my opinion, call into serious question
whether voters in Georgia can feel confident that their votes have been cast as intended
and counted as cast. I try to make it a practice not to attribute to malice that which is
equally explained by incompetence or inattention, and I would not suggest (since I have
no reason to suggest) that the data has been deliberately provided to the Coalition
Plaintiffs only in part and in an inconsistent way. But the next mostly likely reason for
the data being such a mess would be that it is unreasonable to believe that the Dominion
BMD voting system can be used reliably. The kinds of mistakes in the data could come
from mistakes by election workers, and the usual excuse for such mistakes is to attribute
them to “human error”.

18. But we also know, from Dr. Alex Halderman’s report on the use of Dominion
equipment in Antrim County, Michigan ' that election workers can make mistakes
because the human error occurred in the design and implementation of the system by the
vendor. All the types of mistakes made in Antrim County with Dominion equipment
have been made in South Carolina using its iVotronic system, and it is possible to make
those mistakes only because the voting system software has not been sufficiently

bulletproofed to ensure the mistakes are impossible to make. Indeed, I used these

 

' Analysis of the Antrim County, Michigan November 2020 Election Incident

https://www.michigan. gov/documents/sos/Antrim 720623 _7.pdf
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 10 of 69

mistakes in my third-semester undergraduate class as examples of things students would
lose points for were they to submit work that permitted those kinds of mistakes. One
need not suggest malfeasance; if the system cannot be used as intended by the intended

users, then it is the system that is at fault, not the users.

Data Analysis Raises Serious Questions

19. Although the data provided to me seems unlikely to be entirely reliable, I have
nonetheless done some analysis on it. I have been provided with three sets of JSON cast-
vote-records (CVRs) for the November 3, 2020 Fulton County election, and a set of
numerous counties’ election project packages forward to Coalition Plaintiffs by State
Defendants for the November 2020 and January 2021 elections. Two of the three CVR
files are of the original count, which is the final certified count for all races other than for
President of the United States; the third is the CVR from the Presidential recount. I have
also visually reviewed targeted samples of ballot images, generally those representing
problematic ballots such as those which appear to have been counted multiple times in
the official counts.

20. The significance of the missing and unverified files cannot be overstated in
the limitations they place on expert analysis. For example, while I worked extensively
with Fulton’s cast vote records, roughly 34% of the ballot images and often the .dvd and
.sha related files were simply missing, preventing me from consulting those files for
confirmation of the fidelity of the data with the image and its related files. It is my

understanding that while Coalition Plaintiffs desire that I analyze Cobb County’s cast
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 11 of 69

vote records and other electronic records, a full 50% of the required records have not
been preserved by Cobb County.

21. There is no question about the relevance of ballot images and related .sha and
.dvd files and complete Election Project Packages to any examination of the November
2020 electronic election records. The Dominion records in a digital-only record the
interpretation of each ballot and appends that record to the image. The digital ballot
image and the AuditMark interpretation are the records reviewed by the bi-partisan
review boards in deteremining how to adjudicate voters’ marks on ballots when human
review is required. From a voting system security perspective, destruction of these
records is unjustifiable, given Georgia’s election record preservation legal requirements,
the federal statute requiring 22 months retention, and what I presume to be the
preservation obligations related to this lawsuit. The US Department of Justice released a
bulletin in July 2021 reinforcing the importance of electronic election records retention.”

22. Access to the paper ballots and scanning records and extensive testing of them
is needed to provide assurance of accurate tabulations, but such access and was not
permitted at this stage of the litigation.

23. | have written programs to read the data files and output a large file with one
line for each ballot; the format is similar to a CSV from an Excel spreadsheet, but easier
for subsequent programs of mine to read and compare. For each ballot, I have recorded

the precinct portion, the ballot style, the “counting group” of how the ballot was cast

 

page 2 https://www.justice.gov/opa/press-release/file/1417796/download

10
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 12 of 69

(Election Day, absentee by mail, early, or provisional), the tabulator number, batch
number, sequence number within each batch, and then the list of candidate numbers. I
have deliberately ignored the generic write-in numbers and the numbers for registered
write-in candidates. I have, however, recorded the CvrExport_xxx.json filename in
which that ballot is found.

24. The JSON filename, tabulator, batch, and sequence numbers will (unless there
is an extraordinary coincidence) be different for a ballot recorded in the original CVR
when compared to a ballot in the recount CVR. However, one can view the rest of each
line for a ballot as a “signature”: in that precinct portion, with that ballot style, cast in that
fashion, what the actual choices are recorded on the ballot image. J use the term
“signature” of the ballot image to mean a index created in our analysis of the ballot
images where we combine key attributes of the ballot (like precinct and style) with letter
codes indicating the ballot choice in each contest. The combined codes create a pattern
that gives us considerable information in one alpha-numeric string about each ballot. If
there were say 35 ballots in a given precinct with exactly the same candidate choices
made we can verify that there should be 35 votes for each of the candidates chosen,
coming from that particular pattern of choices made, and for the purpose of counting
votes for candidates, and of matching ballots in the original with ballots in the recount.
This would be 35 instances of the “signature” for each such ballot. It is only necessary to
match the count for each pattern (signature); if there are 35 instances of that pattern in
that precinct, style, and counting group, in the original, but only 34 in the recount, then

one of those ballot records is missing from the JSON files I am analyzing, and each

1]
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 13 of 69

candidate chosen in the original ballots has had their vote total diminished by one. The
individual ballot content indices, the “signatures,” are a fundamental analytical tool in
detecting duplicate and ballots that cannot be matched from the original to the recount
data.

25. Given the nature of the BMDs, however, the actual choices of the voters
cannot be known when they vote on the touchscreen BMDs, as has been thoroughly
explained in the declarations of Professor J. Alex Halderman, Professor Andrew Appel,
Professor Philip Stark, Professor Richard DeMillo, and Harri Hursti. Therefore my
electronic data analysis can only begin with the marks as recorded on the electronic
record, ignoring the important truth that such marks may not represent the actual choices
of the BMD voters.

26. The two “original” CVRs provided to me appear to be identical, at least as far
as the CVR itself is concerned.

27. When comparing the electronic cast vote records of the initial count to the cast
vote records of the Presidential recount (which also recorded, but did not officially count,
the down ballot races), a suprising and significant number of discrepant cast vote records
were detected. The two primary types of such discrepant records were 1) the double- and
triple counting of some ballots, and 2) the interpretations of some ballots that appeared
only once between the original count and the recount. The two counts should have
obviously produced a one to one relationship of exactly the same ballots interpreted

exactly the same way, but the analysis does not show such an expected relationship.

12
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 14 of 69

28. By creating “signatures” for each ballot image available, Coalition Plaintiffs’
analysts identified examples of ballot images that appeared to be duplicate and triplicate
images of exactly the same ballot and presented them to me for review. While it is
infeasible to visually review all ballot images, I reviewed a significant number of images
which appear to me to be of duplicates or triplicates of the same ballot. I can confirm
from the cast vote records that these identical ballot images were actually counted in the
tabulation multiple times.

29. This is not a normal expected typical election administration error. It is
completely unacceptable for a system to operate in a manner where widespread double-
and triple-counting of ballots can occur undetected. Certainly this represents a failure of
both the post election audit and the certification and canvassing process, although we do
not know the root cause of the multiple counts of the same bailots.

30. Coalition Plaintiffs analysts currently estimate the vote count effect of the
double counted ballots to be approximately 400 additional ballots in the original count
and about 3,000 in the presidential recount. These estimates seem reasonable in my view
based on the analysis I have conducted, however it is infeasible to attempt to personally
confirm every ballot image suspected of being counted multiple times. Additionally,
some 700 estimated duplicates of BMD ballot images that are part of the the nearly
18,000 missing Fulton recount images cannot be visibly visually confirmed but
reasonable conclusions can be drawn by noting identical characteristics in sequences of
BMD cast vote records that indicate that such sequences of ballots were double and triple

counted.

13
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 15 of 69

31. [ have, however, tried to match up the ballot signatures from the original data
and from the recount data, and I come up with thousands of “mismatched” ballots
county-wide. In Fulton County, for example, there are 528,776 ballots in the original
JSON data and 527,925 in the recount data, a difference of 851 fewer in the recount. Of
these, more than 500,000 signatures in the JSON data in the original match up with
signatures in the recount, but there are thousands of ballots in the original that do not
match a ballot in the recount, and vice versa.

32. It cannot be determined from a review of the electronic records available
whether the “mismatches” represent physically different ballots scanned in the two
official counts, or whether the scanner/tabulators interpreted the votes marked on the
same set of ballots differently for the first count than from the second count. As has been
clearly demonstrated by years of scientific research on electronic voting system
processes, malware, programming errors, or configuration errors can cause voter marks to
be changed in electronic election records. The “mismatches” may well represent the same
physical ballots interpreted differently by the system in the two counts and therefore have
different signatures. That differing interpretation could be caused by a wide variety of
conditions or malicious attack, but the reason for the difference cannot be determined
from the electronic records made available to me.

33. The possibility of such malware or programming or configuration errors
cannot be ruled out until the paper ballots and related electronic records are reviewed. In
my opinion, it is imperative for Plaintiffs and State officials promptly to determine

factual reasons for these mismatches and mitigate the unacceptable flaw in the voting

14
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 16 of 69

system and processes. Whether the cause of the mismatches is physically different ballots
being scanned in the two counts or conflicting electronic interpretation of voters, neither
is an acceptable condition for a public election.

34. A small caveat must be made. I am matching electronic ballot records by
signature. If there were to be three ballots with the same signature in the original data but
only two in the recount data, without a review of the images or the paper record, I would
not be able to determine which of the three original ballots was not included in the
recount, but I can conclude that one of the three was not counted, and thus that the
candidates chosen by that voter did not get an accurate count of votes cast.

Review of Donna Curling’s RW01 Precinct Tabulation

35. The variety and location of errors and discrepancies in the Fulton County files
is significant and difficult to analyze using incomplete records and without access to the
paper documents, so focus on a sample precinct is useful for analysis. Therefore, I have
particularly focused on detected discrepancies in Plaintiff Donna Curling's home precinct
of RW01 (Fulton County). Instances of double-counting of BMD ballots and both
double- and triple-counting of hand-marked paper ballots occurred in RWO1. Seven of
triple-counted and three of double-counted ballots have been detected in Ms. Curling’s
precinct. Analysts have found it possible to identify the images that were counted
multiple times which represent hand marked paper ballots, because each ballot has
slightly unique markings in each oval and images counted multiple times generally can

be confirmed as representing the same ballot.

15
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 17 of 69

36. An example of a triple counted hand marked paper ballot is attached at
Exhibit A.

37. An example of a double counted BMD ballot is attached at Exhibit B.

38. It is likely that the number of BMD ballots counted multiple times is greater
than the number so far detected because machine markings of ballots generally make
them indistinguishable, except for write-ins or unintentional artifacts from the scanning
process.

39. The Secretary of State’s certified results show a total of about 4250 ballots in
Ms. Curlings’ RW01 precinct in the original and the recounted data. Specifically in
RW01, I find that 118 ballot records in the original data do not match with a ballot record
in the recount data, and 114 ballots in the recount data do not match with a ballot in the
original data. There appears to be no localized isolating explanation; the mismatches
occur across precincts, tabulators, batches, and counting groups. Vote counting errors of
this magnitude (more than 2-1/2%) are unacceptable for any voting system or election
tabulation process. I have not examined or heard of an election in the United States with
errors of this type or this magnitude. It should be noted that it is impossible to determine
the exact impact of these discrepancies on the November election results, but all of my
analysis and the analysis that I have seen of Coalition Plaintiffs’ analysts indicate that
there is a pattern of offsetting errors in the presidential election, but no major net change
has been noted to date.

40. The root cause of the differing interpretations of what should be the same

paper ballots cannot be determined without access to hardware and software that may

16
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 18 of 69

have interpreted the same ballots in different ways, and access to the original paper
ballots to determine the accurate interpretation of the voters’ marks.

41. Alternatively, an inspection of the paper ballots could conclude that groups of
different paper ballots were used in the original count versus the recount. With the
incomplete and unreliable electronic records available no reasonable conclusions can be
drawn as to what types of vulnerabilities may have been exploited intentionally or
unintentionally.

42. The significant changes in certain subsets of the three counts are generally
consistent with types of tabulation anonmalies explained above. For example, the official
Election Day ballot vote count (as reported on the Secretary of State’s webpage) for
Donald Trump varied from 202 for the first machine count to the audited tally of 243 to
the final official count of 167. President Biden Election Day ballot vote tallies varied
from 92 initially to an audited tally of 88 and a final machine recounted total of 76. The
fact that such differences between the hand counted audited ballot tallies and the official
machine count tallies differs by this much signals that tabulation and auditing processes
are flawed and strongly argue for intense objective expert examination and considerable
mitigation efforts. It should be the case that counts are consistent and exact. (I remember
calling into question the count in Richland County that was off by one ballot, and being
told that that particular ballot was a Provisional ballot that was rejected. Any differences
in counts should be entirely explainable and effort should be made to explain them)

43. The fact that such audit discrepancies at a precinct level did not cause pre-

certification investigations of the count variances is unacceptable; it essentially defeats

17
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 19 of 69

the purpose of an audit if signficant discrepancies are ignored and chalked up to “human
error” as they seem to have been at least in the case of the Fulton County audit.

44. Ihave no doubt that a deeper analysis of mismatched ballots across precinct
lines would have similar results to the results of the RWO1 precinct. The vast majority of
Fulton County precincts appear to have mismatched ballots.

45. The nature of the anomalies in Fulton County must be seen to be deeply
disturbing. If anomalies were concentrated in a few precincts, or related to specific
tabulators, or such, then one might assume a specific malfunction. I saw this in the South
Carolina data, where all the data from one particular malfunctioning device would be
missing.

46. In Fulton precinct 826-031, for example, there are 528 ballots that match in the
original and the recount data, but 142 ballots in the original that do not occur in the
recount. A closer examination shows that 127 of the 142 are from tabulator 456 and
batch 0. This would appear to be a localized error. The fact that the overwhelming
majority of the Fulton precincts have mismatched ballots would appear much more likely
to be a systemic error in the voting system. Expert examination of the paper ballot
records and the tabulation server and related software is essential for an understanding of
the source of the tabulation discrepancies.

47. Given the level of tabulation discrepancies in Fulton’s November 2020
election, the hand count audit must be considered a failure, and a failure that should have
immediately triggered a serious analysis and mitigation of voting system deficiencies to

ensure that future elections permit voters to cast an accountable vote.

18
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 20 of 69

Other System Deficiencies Detected

48. The anomalies are not confined to Fulton County. In Bartow County,
although the number of ballots in the CVR is only three smaller in the recount, there are
250 mismatches in the original data and 247 mismatches in the recount, out of a total of
just over 50 thousand ballots. Detailed examination of these mismatches shows that the
differences often but not always lie in one contest for ballots scanned with tabulator 530.
Curiously, in precinct 207-WOOD, tabulator 530, batch 88, sequence numbers 76
through 82 all are mismatches in the recount, with the only vote choices being for the
Democrat for president in the first two and for the Republican for president in the next
five.

49. A modern voting system should only permit ballots printed for the correct
specific election and jurisdiction to be scanned and tabulated. However, the Dominion
system was configured in Fulton County in a manner that permitted out of county ballots
or ballots cast in a different election to be scanned and tabulated. For example several
DeKalb County November 2020 ballots were accepted and counted in Fulton. Although
the votes were marked for DeKalb candidates after the statewide candidate section of the
ballot, the votes were tabulated for Fulton candidates whose names were on the ballot in
the same position of the DeKalb candidate chosen.

50. The error can be seen on Exhibit C which is a group of original count and

recount DeKalb County ballot images, cast and counted for Fulton candidates. The voters

19
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 21 of 69

marks can be seen on pages one and two of the ballots voting for DeKalb candidates and
ballot questions. Reviewing page 3 shows the interpretation of the votes, where Fulton
County candidates were given the vote cast for another candidate.

51. The fact that this error can occur is evidence of poor design and non-
compliant use. The errors that resulted in the wrong ballots being cast and counted are a
classic example of a combination of system design problems coupled with election
worker error and inadequate audit procedures.

52. Another issue demonstrating a lack of proper electronic security controls is
the off-hours adjudication of ballots, which literally changes votes in the system based on
decisions during human inspection of the images. Exhibit D is an example of a ballot
scanned at 2:35AM on November 5, and adjudicated at 5:10AM that day. Note that the
third page of the DeKalb ballot in Exhibit C shows a ballot adjudication time of 2:15AM.

53. It is my understanding that Fulton Defendants represented to Coalition
Plaintiffs that ballots were not adjudicated without the involvement of bi-partisan Vote
Review Panels, and that such review panels did not meet prior to 7am. The vote
adjudication times of 2:15 AM and 5:10AM and therefore suggests that unauthorized
electronic vote adjudication was taking place, and at a time of day when there would have
been little citizen or management oversight. These facts point out the security risk of
using electronic adjudication of ballots, allowing changes in the vote count by people
with access to the system. An alternative explanation is that the timer inside the
computers recording adjudication was incorrect. This would be a different but also

serious indication of inadequate care taken in processing ballots from the election.

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Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 22 of 69

54. If the timer is correct, and the times shown are correct (meaning that the
software correctly read the timer value and converted it to human-readable date and time)
the timer’s records off-hours recording would be evidence of apparent unauthorized
access to the system by people possessing credentials to sign into the server and make
vote changes in off hours. This reinforces the need to conduct a thorough examination of
the system logs, server, paper ballot records and the related complete electronic records
to determine the cause of the discrepancies and to install mitigating system controls for

future elections.

Summary and Conclusions

55. The errors and discrepancies noted to date in the partial electronic records
provided cannot be viewed in isolation and without consideration of Dr. Halderman’s
July 1 report on the extreme and wide-ranging security vulnerabilities of the BMD
system. The report explains the many (and mostly obvious) attack surfaces that invite
undetectable electronic manipulation of an election, including an attacker’s ability to
deliver malware that infects components and software throughout the system, not limited
to BMD ballots.

56. In my opinion, the concerning discrepancies of the type detected in the
November 3, 2020 election may have been caused by system malfunctions, malware, by
election workers at the state or county level, a systemic desire of election workers to “just
get the job done” instead of to “get the job done right”, or perhaps even malfeasance.

However, it is my understanding that Fulton County Defendents have stated in their

21
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 23 of 69

discovery responses that ballots were not double scanned and then double-counted. The
double counting certainly took place. Physical double-scanning is a serious enough
problem. But if Fulton Defendants are correct in their statement that double scanning did
not take place, we must assume that the devices used (scanners and tabulators) produced
the duplicated ballots either due to bad software from the vendor or intentional
duplication by software inserted after the vendor’s installation of the software. Urgent
and expert analysis should be underway by Georgia officials to investigate the root cause
of the tabulation problems and install immediate mitigations where possible.

57. However, so long as the Dominion BMD touchscreen units are in use, Dr.
Halderman’s findings would indicate that vote discrepancies similar to those described
above, if caused by malware, could not be reasonably prevented. The solution to
Georgia’s election verification shortfall undeniably lies in 1) the implementation of hand
marked paper ballots as the standard voting method to obtain a trustworthy source
document, 2) chain of custody controls, 3) comprehensive ballot accounting and
canvassing procedures, and 4) robust post-election audits of the type recommended by
Dr. Stark. These basic elements are essential to ensure that Georgia voters an cast an
accountable vote.

58. It is my understanding that neither State Defendants nor Fulton Defendants
have sought access to Dr. Halderman’s report on the dangerous vulnerabilities of the
Dominion BMD system, nor have they undertaken any efforts to address the security
risks associated with the use of the equipment, despite the concerning tabulation errors in

November 2020 election, and unresolved discrepancies in the post-election audit.

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Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 24 of 69

59. Meaningful assessments by voting system experts of the cause and
recommended mitigation of the discrepancies detected in the November 2020 election
will require access to paper ballots, scanning documents, tabulation equipment and
related software and in-depth analysis of all.

] declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that the

foregoing is true and correct.
Executed on this date, January 11, 2022.

DUNCAN ALAN BUELL

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FULTON COUNTY

 

NOVEMBER 3, 2020

INSTRUCTIONS:

OFFICIAL ABSENTEE/PROVISIONAL/EMERGENCY BALLOT

OFFICIAL GENERAL AND SPECIAL ELECTION BALLOT
OF THE STATEOF GEORGIA

 

   
  
  

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3. Hf voting for a Write-in candidate, complotely fill in the empty ovel to the left of
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Joseph R. Biden (Dem)
US Senate (Perdue)
Jon Ossoff (Dem)
US Senate (Loeffler) - Special
Raphael Warnock (Dem)
Public Service Commission District 1
Robert G. Bryant (Dem)
Public Service Commission District 4
Daniel Blackman (Dem)
US House District 6
Lucy McBath (1) (Dem)
State Senate District 56
Sarah Beeson (Dem)
State House District 48
Mary Robichaux (1) (Dem)
District Attorney - Atlanta
Fani Willis (Dem)
Clerk of Superior Court
Cathelene “Tina” Robinson (1) (Dem)
Sheriff
Patrick “Pat” Labat (Dem)
Tax Commissioner
Arthur E. Ferdinand (1) (Dem)
Surveyor
BLANK CONTEST
Solicitor General
Keith E. Gammage (I) (Dem)
County Commission District 2
Justin Holsomback (Dem)
Soil and Water - Fulton County
Alan Toney (I)
Constitutional Amendment #1
YES
Constitutional Amendment #2
YES
Statewide Referendum A
NO

Filed 02/01/22 Page 28 of 69
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FULTON COUNTY

 

NOVEMBER 3, 2020

OFFICIAL ABSENTEE/PROVISIONAL/EMERGENCY BALLOT

OFFICIAL GENERAL AND SPECIAL ELECTION BALLOT
OF THE STATE OF GEORGIA

 

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Joseph R. Biden (Dem)
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Jon Ossoff (Dem)
US Senate (Loeffler) - Special
Raphael Warnock (Dem)
Public Service Commission District 1
Robert G. Bryant (Dem)
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Patrick "Pat" Labat (Dem)
Tax Commissioner
Arthur E. Ferdinand (1) (Dem)
Surveyor
BLANK CONTEST
Solicitor General
Keith E. Gammage (I) (Dem)
County Commission District 2
Justin Holsomback (Dem)
Soil and Water - Fulton County
Alan Toney (I)
Constitutional Amendment #1
YES
Constitutional Amendment #2
YES
Statewide Referendum A
NO

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a OFFICIAL ABSENTEE/PROVISIONAL/EMERGENCY BALLOT a

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Scanned on: ICC Tabulator: 791 Batch: 26
PollID: 317 Ballot ID: 676

President of the United States
Joseph R. Biden (Dem)
US Senate (Perdue)
Jon Ossoff (Dem)
US Senate (Loeffler) - Special
Raphael Warnock (Dem)
Public Service Commission District 1
Robert G. Bryant (Dem)
Public Service Commission District 4
Daniel Blackman (Dem)
US House District 6
Lucy McBath (I) (Dem)
State Senate District 56
Sarah Beeson (Dem)
State House District 48
Mary Robichaux (1) (Dem)
District Attorney - Atlanta
Fani Willis (Dem)
Clerk of Superior Court
Cathelene "Tina" Robinson (i) (Dem)
Sheriff
Patrick "Pat" Labat (Dem)
Tax Commissioner
Arthur E. Ferdinand (1) (Dem)
Surveyor
BLANK CONTEST
Solicitor General
Keith E. Gammage (1) (Dem)
County Commission District 2
Justin Holsomback (Dem)
Soil and Water - Fulton County
Alan Toney (I)
Constitutional Amendment #1
YES
Constitutional Amendment #2
YES
Statewide Referendum A
NO

Filed 02/01/22 Page 34 of 69
“Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 35 of 69

Exhibit B
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 36 of 69

 

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Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 37 of 69

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PolliD: 317 Ballet ID: 676

President of the United States
Donald J. Trump (i) (Rep)
US Senate (Perdue)
David A. Perdue (1) (Rep)
US Senate (Loeftler) - Special
Doug Collins (Rep)
Public Service Commission District 1
Jason Shaw (I) (Rep)
Public Service Commission District 4
Lauren Bubba McDonald, Jr. (I) (Rep)
US House District 6
Karon Handel (Rep)
State Senate District 56
John Albers (1) (Rep)
State House District 48
Betty Price (Rep)
District Attomey - Atlanta
Fani Willig (Dem)
Cerk of Supericr Court
Cathelene “Tina™ Robinson (1) (Dem)
Sheriff
Patrick "Pat" Labat (Dem)
Tax Commissioner
Arthur E. Ferdinand (I) (Dem)
Surveyor
BLANK CONTEST
Solicitor General
Keith E. Gammage (1) (Dem)
County Commission District 2
Bob Ellis (1) (Rep)
Soil and Water - Fulton County
Alan Taney (i)
Constitutional Amendment #71
YES
Constitutional Amendment #2
NO
Statewide Referendum A
YES

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Poll ID: 317 Ballot ID: G76

President of the United States
Donald J. Trump (I) (Rep)
US Senate (Perdue)
David A, Perdue (I) (Rep)
US Senate (Loeffler) - Special
Doug Collins (Rep)
Public Service Commission District 1
Jason Shaw (1) (Rep)
Public Service Commission District 4
Lauren Bubba McDonald, Jr. (I) (Rep)
US House District 6
Karen Handel (Rep)
State Senate District 56
John Albers (1) (Rep)
State House District 48
Betty Price (Rep)
District Attomey - Atlanta
Fani Willis (Dem)
Clerk of Superior Court
Catheleno “Tina” Robinson (1) (Dom)
Sheriff
Patrick “Pat” Labat (Dem)
Tax Commissioner
Arthur E. Ferdinand (1) (Dem)
Surveyor
BLANK CONTEST
Solicitor General
Keith E. Gammage (I) (Oem)
‘County Commission District 2
Bob Ellis (I) (Rep)
Soil and Water - Fulton County
Alan Taney (I)
Constitutional Amendment #1
YES
Canstitutional Amendment 2
NO
Statewide Referendum A
YES

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~ Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 Page 38 of 69 ©

Exhibit C _
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a OF THE STATE OF GEORGIA a
a NOVEMBER 3, 2020 a
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Scanned on: ICC Tabulator: 729 Batch: 116
Poll ID: 261 Ballot ID: 284

President of the United States
Joseph R. Biden (Dem)

US Senate (Perdue)
Jon Ossoff (Dem)

US Senate (Loeffter) - Special
Tamara Johnson-Shealey (Dem)

Public Service Commission District 1
Robert G. Bryant (Dem)

Public Service Commission District 4
Daniel Blackman (Dem)

US House District 5
Nikema Williams (Dem)

State Senate District 36
Nan Orrock {!) (Derm)

State House District 60
Kim Schofield (t) (Dem)

District Attorney - Atlanta
Fani Willis (Dem)

Clerk of Superior Court
BLANK CONTEST

Sheriff
BLANK CONTEST

Tax Commissioner
BLANK CONTEST

Surveyor
BLANK CONTEST

Solicitor General
BLANK CONTEST

Soil and Water - Fulton County
BLANK CONTEST

Constitutional Amendment #1
BLANK CONTEST

Constitutional Amendment #2
YES

Statewide Referendum A
BLANK CONTEST

Atlanta Homestead Exemption - Special
OVER-VOTE
YES (NOT COUNTED)
NO (NOT COUNTED)

Adjudicated at 2:15 AM on 11/7/2020 by emsadmino4

President of the United States
Joseph R. Biden (Dem) (100%)
US Senate (Perdue)
Jon Ossoff (Dem) (1008)
US Senate (Loeffler) - Special
Tamara Jobnson-Shealey (Dem) (100%)
Public Service Commission District 1
Robert G. Bryant (Dem) (1008)
Public Service Commission District 4
Daniel Blackman (Dem) (1008)
US House District 5
Nikema Williams (Dem) (100%)
State Senate District 36
Nan Orrock (I) (Dem) (948)
State House District 60
Kim Schofield (I) (em) (998)
District Attorney - Atlanta
Fani Willis (Dem) (100%)
Clerk of Superior Court
BLANK CONTEST
Sheriff
BLANK CONTEST
Tax Commissioner
BLANK CONTEST

Solicitor General
BLANK CONTEST
Soil and Water - Fulton County
BLANK CONTEST
Constitutional Amendment #1
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Constitutional Amendment #2
YES (31%)
Statewide Referendum A
BLANK CONTEST
Atlanta Homestead Exemption - Special
*tadjudicated* Mark removed for YES
RO (988)

Filed 02/01/22 Page 41 of 69
Case 1:17-cv-02989-AT Docymenti12Q/c4ebJled 02/01/22 Page 42 of 69

 

 

 

  
 
 
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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a OFFICIAL GENERAL AND SPECIAL ELECTION BALLOT =
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a B. Mall or retum the apailad bellot and envelope to your county board of regisirars; a now often ahaenio beistatlbe meietievee a
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B which you sro sssignod. You wil then be permitied fo vote a regular ba a
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a “ ) For United States Senate {Vote for One) a
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5 my "Spike" Cohen Republican : Witiein a
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B @ Jon Ossoff © Deborah Jackson a
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B Uberaria Democrat For U.S. Representative tn 147th a
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a ,O © A. Wayne Johnson Congressional District of Georgia .
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Poll ID: 168 Ballot ID: 247

President of the United States
Joseph R. Biden (Dem)
US Senate (Perdue)
Jon Ossoff (Dem)
US Senate (Loeffler) - Special
Raphael Warnock (Dem)
Public Service Commission District 1
Robert G. Bryant (Dem)
Public Service Commission District 4
Daniel Blackman (Dem)
US House District 5
Nikera Williams (Dem)
State Senate District 36
Nan Orrock (1) (Dem)
State House District 58
Park Cannon (I) (Derm)
District Attorney - Atlanta
Fani Willis (Dem)
Clerk of Superior Court
BLANK CONTEST
Sheriff
BLANK CONTEST
Tax Commissioner
BLANK CONTEST
Surveyor
BLANK CONTEST
Solicitor General
BLANK CONTEST
County Commission District 4
Write-in
Soil and Water - Fulton County
Write-in
Constitutional Amendment #1
YES
Constitutional Amendment #2
YES
Statewide Referendum A
NO
Atlanta Homestead Exemption - Special
BLANK CONTEST

Filed 02/01/22 Page 44 of 69
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g NOVEMBER 3, 2020 a
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Poll ID: 314 Ballot ID: 1

President of the United States
Joseph R. Biden (Dem)
US Senate (Perdue)
Jon Ossoff (Dem)
US Senate (Loeffler) - Special
Deborah Jackson (Dem)
Public Service Commission District 1
Robert G. Bryant (Dem)
Public Service Commission District 4
Daniel Blackman (Dem)
US House District 5
Nikema Williams (Dem)
State Senate District 36
Write-in
State House District 59
Write-in
District Attorney - Atlanta
Fani Willis (Dem)
Clerk of Superior Court
BLANK CONTEST
Sheriff
BLANK CONTEST
Tax Commissioner
BLANK CONTEST
Surveyor
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Solicitor General
BLANK CONTEST
Soil and Water - Fulton County
BLANK CONTEST
Constitutional Amendment #1
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Constitutional Amendment #2
OVER-VOTE
YES (NOT COUNTED)
NO (NOT COUNTED)
Statewide Referendum A
BLANK CONTEST
Atlanta Homestead Exemption - Special
OVER-VOTE
YES (NOT COUNTED)
NO (NOT COUNTED)

Adjudicated at 3:19 PM on 11/3/2020 by emsadmin06

President of the United States
Joseph R. Biden (Dem) (100%)
US Senate (Perdue)
Jon Ossoff (Dem) (1006)
US Senate (Loeffler) - Special
Deborah Jackson (Dem) (100%)
Public Service Commission District 1
Robert G. Bryant (Dem) (100%)
Public Service Commission District 4
Daniel Blackman (Dem) (1008)
US House District 5
Nikema Williams (Dem) (1008)
State Senate District 36
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Constitutional Amendment #1
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NO (99%)
Statewide Referendum A
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Poll!1D: SO Ballot ID: 335

President of the United States
Joseph R. Biden (Dem)

US Senate (Perdue)
Jon Ossoff (Dem)

US Senate (Loeffler) - Special
Raphael Warnock (Dem)

Public Service Commission District 1
Robert G. Bryant (Dem)

Public Service Commission District 4
Daniel Blackman (Dem)

US House District 5
Nikema Williams (Dem)

State House District 56
Write-in

District Attorney - Atlanta
Write-in

Clerk of Superior Court
BLANK CONTEST

Sheriff
Write-in

Tax Commissioner
BLANK CONTEST

Surveyor
BLANK CONTEST

Solicitor General
BLANK CONTEST

County Commission District 4
BLANK CONTEST

Soil and Water - Fulton County
Write-in

Constitutional Amendment #1
YES

Constitutional Amendment #2
OVER-VOTE
YES (NOT COUNTED)
NO (NOT COUNTED)

Statewide Referendum A
BLANK CONTEST

Atlanta Homestead Exemption - Special
OVER-VOTE
YES (NOT COUNTED)
NO (NOT COUNTED)

Adjudicated at 8:55 PM on 11/4/2020 by emsadmini2

President of the United States
Joseph R. Biden (Dem) (1008)
US Senate (Perdus)
Jon Ossoff (Dem) (99%)
US Senate (Loeffler) - Special
Raphael Warneck (Dem) (1009)
Public Service Commission District 1
Robert G. Bryant (Dem) (100%)
Public Service Commission District 4
Daniel Blackman (Dem) (998%)
US House District 5
Mikema Williams (Dem) (958)
State House District 56
Write-in (986)
District Attorney - Atlanta
Write-in (1008)
Clerk of Superior Court
BLANK CONTEST
Sheriff
Write-in (999%)
Tax Commissioner
BLANK CONTEST
Surveyor
BLANK CONTEST
Seliciter General
BLANK CONTEST
County Commission District 4
BLANK CONTEST
Soil and Water - Fulton County
Write-in (1006)
Constitutional Amendment #1
YES (1008)
Constitutional Amendment #2
OVER-VOTE
YES (NOT COUNTED) (338)
No (NOT COUNTED) (1009)
Statewide Referendum A
BLANK CONTEST
Atlanta Homestead Exemption - Special
OVER-VOTE
YES (NOT COUNTED) (489)
NO (NOT COUNTED) (106%)

Filed 02/01/22 Page 50 of 69
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i i I Turn Ballot Over To Continue Voting

a DEKALB COUNTY a
n 641-DC, 658-DC a
a OFFICIAL ABSENTEE/PROVISIONAL/EMERGENCY BALLOT a
a OFFICIAL GENERAL AND SPECIAL ELECTION BALLOT a
a OF THE STATEOF GEORGIA a
a NOVEMBER 3, 2020 a
INSTRUCTIONS:
a 4. Use black of blue ink to mark the ballot Oo NOT use red Ink or fet tip psn te mack ballot a
a 2 yin the empty oval to th lat ofthe candicata name or choice in po beet arse. andering or mark through choles B
ratea to vote ah marks Of X to mark bavot
a 2 th voting for 8 Wate-tn candidste, completely fla the empty oval tothe lf of Do NOT mark more cheions pet race than showed BR
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a Hyoumske e mistake or change vour mind one setection: a
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a B. Mail or retum the spoded balet and envalope to your county bostd of registrars; @ new official sbseates ballot will be malied to you a
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a Fer President For Public Service a
= of the United States SPECIAL ELECTION Commissioner 5
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a For Untted Ststss Senste (Vote for One) B
a Donatd J. Trump President (To Fil the Unexpired Term of © Jason Shaw a
Michael R. Pence - Vico Presktent Johnny Isakzon, Resigned) Qncumbenc) Republican \
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a © AlBartell | @® Robert G. Bryant a
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Je “Spike” Cohen - Vice President ————$
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{To Succeed Lauren Subba McDonald, Jr.)
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a (Vote for Ona) Inéependan @ Caniel Blackman a
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Poll ID: 559 Ballot ID: 358

President of the United States
Joseph R. Biden (Derm)

US Senate (Perdue)
Jon Ossoff (Dem)

US Senate (Loeffler) - Special
Raphael Warnock (Dem)

Public Service Commission District 1
Robert G. Bryant (Dem)

Public Service Commission District 4
Daniel Blackman (Dem)

US House District 5
Nikema Williams (Dem)

State Senate District 39 - Special Democratic Primary
BLANK CONTEST

State House District 56
Mesha Mainor (Dem)

District Attorney - Atlanta
Fani Willis (Dem)

Clerk of Superior Court
Write-in

Sheriff
Write-in

Tax Commissioner
BLANK CONTEST

Surveyor
BLANK CONTEST

Solicitor General
BLANK CONTEST

Soil and Water - Fulton County
BLANK CONTEST

Constitutional Amendment #1
YES

Constitutional Amendment #2
BLANK CONTEST

Statewide Referendum A
BLANK CONTEST

Atlanta Homestead Exemption - Special
BLANK CONTEST

Filed 02/01/22 Page 53 of 69
Case 1:17-cv-02989-AT Document 1297-4 Filed 02/01/22 pase 54 of 69

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a DEKALB COUNTY a
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a OFFICIAL ABSENTEE/PROVISIONAL/IEMERGENCY BALLOT a
a OFFICIAL GENERAL AND SPECIAL ELECTION BALLOT a
a OF THE STATEOF GEORGIA g
a NOVEMBER 3, 2020 a
INSTRUCTIONS:
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a 2. Compiataly fi In the empty oval to tha left of the candidate name of choice in | Oo NOT circle, underfine or mark through cholces a
81] reces you wish to vole Oo NOT use chock marks of X to mark ballot
g 3. H voting for a Wiite-in candidate, completely fill in the empty oval to the left of | Do NOT mark more choices per face than aitowed a
a the Virte-In ssiection, then write the name of the write-in candidate in tha spzca | Oo NOT sign, cut, tear or Camage the betot 5
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a 83. Mail or return the spoiad ballot and onvelope to your county board of registrars: a new official sbsantoo ballot will be mated to you a
a Hyow decide to vote In-person: Surrender the batt tothe poll manage of sn arty voting ste win your county ar the pracinct to a
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B For United States Sonate (Vote for One} a
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Michae! R. Pence - Vice President Johnny Isakson, Resigned)
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a © ABartell + @ Robert G. Bryant B
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= Kamala D. Hartt «Vico Present © Allen Buckley lo Elizabeth Matton 8B
Independent Libertarian
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a For United States Senate © Michael Todd Greene * a
a (Vote for One) Independent @ Daniel Blackman a
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a Democrat 42nd District a
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Scanned on: ICC Tabulator: 742 Batch: 54
Poll ID: 168 Ballot ID: 247

President of the United States
Joseph R. Biden (Dem)
US Senate (Perdue)
Jon Ossoff (Dem)
US Senate (Loeffler) - Special
Raphael Warnock (Dem)
Public Service Commission District 1
Robert G. Bryant (Dem)
Public Service Commission District 4
Daniel Blackman (Dem)
US House District 5
Nikema Williams (Dem)
State Senate District 36
Nan Orrock (1) (Derm)
State House District 58
Park Cannon (1) (Dem)
District Attorney - Atlanta
Fani Willis (Dem)
Clerk of Superior Court
BLANK CONTEST
Sheriff
BLANK CONTEST
Tax Commissioner
BLANK CONTEST
Surveyor
BLANK CONTEST
Solicitor General
BLANK CONTEST
County Commission District 4
Write-in
Soil and Water - Fulton County
Write-in
Constitutional Amendment #1
YES
Constitutional Amendment #2
YES
Statewide Referendum A
NO
Atlanta Homestead Exemption - Special
BLANK CONTEST

Filed 02/01/22 Page 56 of 69
Case 1:17-cv-02989-AT Document 1297.4, Filed 02/01/22 Page 57 of 69

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as DEKALB COUNTY z
a 738-BM a
a OFFICIAL ABSENTEE/PROVISIONAV/EMERGENCY BALLOT a
= OFFICIAL GENERAL AND SPECIAL ELECTION BALLOT a
a OF THE STATE OF GEORGIA a
B NOVEMBER 3, 2020 a
INSTRUCTIONS:
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= the Wiits-In selection, then write the nemo of the write-in cendidste in tha spaoca | Oo NOT sign, cut, teat or damage the ballot 5
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President of the United States
Joseph R. Biden (Dem)

US Senate (Perdue)
Jon Ossoff (Dem)

US Senate (Loeffler) - Special
Tamara Johnson-Shealey (Dem)

Public Service Commission District 1
Robert G. Bryant (Dem)

Public Service Commission District 4
Daniel Blackman (Dem)

US House District 5
Nikema Williams (Dem)

State Senate District 36
Nan Orrock (1) (Dem)

State House District 60
Kim Schofield (1) (Derm)

District Attorney - Atlanta
Fani Willis (Dem)

Clerk of Superior Court
BLANK CONTEST

Sheriff
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Tax Commissioner
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Surveyor
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Solicitor General
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Soil and Water - Fulton County
BLANK CONTEST

Constitutional Amendment #1
BLANK CONTEST

Constitutional Amendment #2
YES

Statewide Referendum A
BLANK CONTEST

Atlanta Homestead Exemption - Special
OVER-VOTE
YES (NOT COUNTED)
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President of the United States
Joseph R. Biden (Dem)

US Senate (Perdue)
Jon Ossoff (Dem)

US Senate (Loeffler) - Special
Raphael Warnock (Dem)

Public Service Commission District 1
Robert G. Bryant (Dem)

Public Service Commission District 4
Daniel Blackman (Dem)

US House District S
Nikema Williams (Dem)

State House District 56
Write-in

District Attorney - Atlanta
Write-in

Clerk of Superior Court
BLANK CONTEST

Sheriff
Write-in

Tax Commissioner
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Surveyor
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Solicitor General
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County Commission District 4
BLANK CONTEST

Soil and Water - Fulton County
Write-in

Constitutional Amendment #1
YES

Constitutional Amendment #2
OVER-VOTE
YES (NOT COUNTED)
NO (NOT COUNTED)

Statewide Referendum A
BLANK CONTEST

Atlanta Homestead Exemption - Special
OVER-VOTE
YES (NOT COUNTED)
NO (NOT COUNTED)

Filed 02/01/22 Page 62 of 69
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Turn Ballot Over To Continue Voting

 

 

 

 

 

 

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Poll ID: 559 BallotID: 358

President of the United States
Joseph R. Biden (Dem)

US Senate (Perdue)
Jon Ossoff (Dem)

US Senate (Loeffler) - Special
Raphael Warnock (Dem)

Public Service Commission District 1
Robert G. Bryant (Dem)

Public Service Commission District 4
Daniel Blackman (Dem)

US House District 5
Nikema Williams (Dem)

State Senate District 39 - Special Democratic Primary
BLANK CONTEST

State House District 56
Mesha Mainor (Dem)

District Attorney - Atlanta
Fani Willis (Dem)

Clerk of Superior Court
Write-in

Sheriff
Write-in

Tax Commissioner
BLANK CONTEST

Surveyor
BLANK CONTEST

Solicitor General
BLANK CONTEST

Soil and Water - Fulton County
BLANK CONTEST

Constitutional Amendment #1
YES

Constitutional Amendment #2
BLANK CONTEST

Statewide Referendum A
BLANK CONTEST

Atlanta Homestead Exemption - Special
BLANK CONTEST

Filed 02/01/22 Page 65 of 69
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a OFFICIAL ABSENTEE/PROVISIONAL/EMERGENCY BALLOT a
. OFFICIAL GENERAL AND SPECIAL ELECTION BALLOT a
a OF THE STATEOF GEORGIA a
u NOVEMBER 3, 2020 a
INSTRUCTIONS:
a Jo¥ote Warns a
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= the Write-tn selection, then write the name of the write-in candidate in the space | Oo KOT sign. cul, tear or damage the ballot a
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a B. Mail or rotum the spofed balat and envelope to your county board of registrars: a new official sbsentoo bellct will be mazod to you a
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a For For Public Service a
2 of the Unite States SPECIAL ELECTION Commissioner s
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a For United States Senate (Vote for Ona) a
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me —|_Featnala D. Harris -Vice Present) allen Buckley «2 Ellzabeth Matton =
a a
a .7; Jo Jorgensen - President "1 Doug Collins a
a Jeremy “Spike” Cohen - Vico Presiient Repubtican 2
a > John Fortuin For Public Service a
= . Green Commissioner a
~ (To Succeed Lauran Bubba McDonald, Jr.)
a <2 Derick E. Greyson (Vote for One) a
a Writetn Reg » Lauren Bubba McDonald, Jr. a
oe Oncumbent} Republican
a For United States Senate (2 idichael Todd Greene a
a (Vote for Gne) Independent @ Danlel Bteckman a
a <o David A. Perdua ‘<2 Annette Davis Jackson Oemocsat a
a (incumbent) Repubiican Repudfican | Nathan Wilson a
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- a Congrese From the 6th
a wo yt ee. Jehngon Congressional District of Georgia a
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Scanned on: ICC Tabulator: 729 Batch: 86
Poll iD: 317 Ballot ID: 676

President of the United States
Joseph R. Biden (Dem)
US Senate (Perdue)
Jon Ossoff (Dem)
US Senate (Loeffler) - Special
OVER-VOTE
Deborah Jackson (Dem) (NOT COUNTED)
Jamesia James (Dem) (NOT COUNTED)
Tamara Johnson-Shealey (Dem) (NOT COUNTED}
Matt Lieberman (Dem) (NOT COUNTED)
Joy Feltcla Slade (Dem) (NOT COUNTED)
Ed Tarver (Dem) (NOT COUNTED)
Raphael Warnock (Dem) (NOT COUNTED)
Richard Dien Winfield (Dem) (NOT COUNTED)
Pubtic Service Commission District 1
Robert G. Bryant (Dem)
Public Service Commission District 4
Daniel Blackman (Dem)
US House District 6
Lucy MeBath (1} (Derm)
State Senate District 56
Sarah Beeson (Dem)
State House District 48
Mary Robichaux (I) (Dem)
District Attorney - Atlanta
Fanl Willis (Dem)
Clerk of Superior Court
Cathetene “Tina” Robinson (1) (Dem)
Sheriff
Patrick "Pat" Labat (Dem)
Tax Commissioner
Arthur E. Ferdinand (1) (Dem)
Surveyor
BLANK CONTEST
Solicitor General
Keith E. Gammage (I) (Dem)
County Commission District 2
Justin Holtsomback (Dem)
Soil and Water - Fulton County
BLANK CONTEST
Constitutional Amendment #1
BLANK CONTEST
Constitutional Amendment #2
BLANK CONTEST
Statewide Referendum A
BLANK CONTEST

Adjudicated at 5:10 AM on 11/5/2020 by emsadmino3

President of the United States
Joseph R. Biden (Dem) (1008)
Senate (Perdue)
Jon Ossoff (Dem) (100%)
US Senate (Loeffler) - Special
OVER-VOTE
Deborah Jacksen (Dem) (NOT COUNTED) (969%)
Jamesia James (Dem) (NOT COUNTED) (100%)
Tamara Johnoon-Shealey (Dem) (NOT COUNTED) (1008)
Matt Lieberman (Dem) (NOT COUNTED) (100%)
Joy Felicia Slade (Dem) (MOT COUNTED) (999%)
Ed Tarver (Dem) (NOT COUNTED) (1008)
Raphael Warnock (Dem) (NOT COUNTED) (100%)
Richard Dien Winfield (Dem) (HOT COUNTED) (1006)
Public Service Commission Distriat 1
Robert G. Bryant (Dem) (1006)
Public Servica Commission District 4
Daniel Blackman (Dem) (1008)
US House District 6
Lucy McBath (I) (Dem) (100%)
State Senate District 56
Sarah Beeagon (Dem) (996)
State House District 48
Mary Robichaux (I) (Dem) (99%)
District Attorney - Atlanta
Fani Willio (Dem) (988)
Clerk of Superior Court
Cathelene “Tina” Rebinson (I) (Dem) (99%)
sheriff
Patrick "Pat" Labat (Dem) (968)
Tax Commissioner
Arthur E. Ferdinand {I1) @em} (99%)
Surveyor
BLANK CONTEST
Solicitor Genoral
Keith E. Gammage (I) (Dem> (1008)
County Commission District 2
dustin Holsemback (Dem) (994)
8021 and Water - Fulten County
BLANK CONTEST
Constitutional Amendment #1
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Constitutional Amendment #2
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Statewide Referendum A
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